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 9
10                      UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
11
12   VAHE MESSERLIAN, individually ) Case No.
13   and on behalf of all others similarly )
     situated,                             ) CLASS ACTION
14                                         )
15   Plaintiff,                            ) COMPLAINT FOR VIOLATIONS
                                           ) OF:
16
            vs.                            )
17                                         ) 1. NEGLIGENT VIOLATIONS OF
                                                THE TELEPHONE CONSUMER
18                                         )    PROTECTION ACT [47 U.S.C.
     MID WILSHIRE CONSULTING, )                 §227 ET SEQ.]
19   INC. dba                              ) 2. WILLFUL VIOLATIONS OF THE
                                                TELEPHONE CONSUMER
20   SOCIALWELLNESSTALKS.COM; )                 PROTECTION ACT [47 U.S.C.
     DOES 1 through 10, inclusive,         )    §227 ET SEQ.]
21
                                           )
22   Defendant(s).                         ) DEMAND FOR JURY TRIAL
23         Plaintiff, VAHE MESSERLIAN (“Plaintiff”), on behalf of himself and all
24   others similarly situated, alleges the following upon information and belief based
25   upon personal knowledge:
26                              NATURE OF THE CASE
27         1.    Plaintiff brings this action for himself and others similarly situated
28   seeking damages and any other available legal or equitable remedies resulting from


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 1   the   illegal    actions     of    MID    WILSHIRE     CONSULTING,         INC.       dba
 2   SOCIALWELLNESSTALKS.COM (“Defendant”), in negligently, knowingly,
 3   and/or willfully contacting Plaintiff via “telephone facsimile machine” in violation
 4   of the Telephone Consumer Protection Act, 47. U.S.C. § 227 et seq. (“TCPA”),
 5   thereby causing Plaintiff and all others similarly situated to incur the costs of
 6   receiving unsolicited advertisement messages via “telephone facsimile machines”
 7   and invading their privacy.
 8                                 JURISDICTION & VENUE
 9         2.        Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
10   a resident of California, seeks relief on behalf of a Class, which will result in at
11   least one class member belonging to a different state than that of Defendant, a
12   company with its principal place of business and State of Incorporation in
13   California state. Plaintiff also seeks up to $1,500.00 in damages for each call in
14   violation of the TCPA, which, when aggregated among a proposed class in the
15   thousands, exceeds the $5,000,000.00 threshold for federal court jurisdiction.
16   Therefore, both diversity jurisdiction and the damages threshold under the Class
17   Action Fairness Act of 2005 (“CAFA”) are present, and this Court has jurisdiction.
18         3.        Venue is proper in the United States District Court for the Central
19   District of California pursuant to 28 U.S.C. § 1391(b)(2) because Defendant does
20   business within the state of California and Plaintiff resides within this District.
21                                            PARTIES

22         4.        Plaintiff, VAHE MESSERLIAN (“Plaintiff”), is a natural person

23   residing in Los Angeles County, California and is a “person” as defined by 47

24
     U.S.C. § 153 (39).

25
           5.        Defendant,        MID    WILSHIRE     CONSULTING,         INC.        dba

26
     SOCIALWELLNESSTALKS.COM (“Defendant” or “DEFENDANT”), is a

27
     marketer of medical products, and is a “person” as defined by 47 U.S.C. § 153 (39).
           6.        The above named Defendant, and its subsidiaries and agents, are
28



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 1   collectively referred to as “Defendants.” The true names and capacities of the
 2   Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
 3   currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
 4   names. Each of the Defendants designated herein as a DOE is legally responsible
 5   for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
 6   Complaint to reflect the true names and capacities of the DOE Defendants when
 7   such identities become known.
 8          7.     Plaintiff is informed and believes that at all relevant times, each and
 9   every Defendant was acting as an agent and/or employee of each of the other
10   Defendants and was acting within the course and scope of said agency and/or
11   employment with the full knowledge and consent of each of the other Defendants.
12   Plaintiff is informed and believes that each of the acts and/or omissions complained
13   of herein was made known to, and ratified by, each of the other Defendants.
14                               FACTUAL ALLEGATIONS
15          8.     Beginning on or around August 29, 2016, Defendant contacted
16   Plaintiff on his telephone facsimile numbers ending in -8480, in an effort to sell or
17   solicit its services.
18          9.     Defendant contacted Plaintiff, by sending a facsimile transmission,
19   between on or around August 29, 2016; February 11, 2017; May 19, 2017; and
20   September 25, 2017 in an effort to solicit its business.
21          10.    A true and correct copy of the faxes, sent by Defendant to Plaintiff,

22   are attached hereto as “Exhibit A.”

23          11.    Defendant’s messages constituted “telephone solicitation” as defined

24
     by the TCPA, 47 U.S.C. § 227(a)(4) and “unsolicited advertisement” as defined by

25
     the TCPA, 47 U.S.C. § 227(a)(5).

26
            12.    Defendant used an “telephone facsimile machine” as defined by 47

27
     U.S.C. § 227(a)(3) to place its calls to Plaintiff seeking to sell or solicit its business
     services.
28



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 1         13.   Defendant’s calls constituted calls that were not for emergency
 2   purposes as defined by 47 U.S.C. § 227(b)(1)(A).
 3         14.   Defendant’s calls were placed to telephone facsimile numbers
 4   assigned to a telephone service for which Plaintiff incurs a charge for incoming
 5   messages.
 6         15.   Plaintiff is not a customer of Defendant’s services and has never
 7   provided any personal information, including his telephone facsimile number(s), to
 8   Defendant for any purpose whatsoever. Accordingly, Defendant never received
 9   Plaintiff’s “prior express consent” to receive calls using a telephone facsimile
10   machine pursuant to 47 U.S.C. § 227(b)(1)C).
11         16.   Furthermore, the messages that Defendant sent to Plaintiff lacked the
12   “opt-out” notice pursuant to 47 U.S.C. § 227(b)(2)(D).
13         17.
14                              CLASS ALLEGATIONS
15                                      THE CLASS
16         18.   Plaintiff brings this action on behalf of himself and all others similarly
17   situated, as a member of the proposed class (hereafter “The Class”) defined as
18   follows:
19
                 All persons within the United States who received any
20               telephone facsimile messages from Defendant to said
21               person’s telephone facsimile number made through the
                 use of any telephone facsimile machine and such person
22
                 had not previously consented to receiving such messages
23               and such messages did not contain any opt-out notice
24               within the four years prior to the filing of this Complaint
25
26
           19.   Plaintiff represents, and is a member of, The Class, consisting of All

27
     persons within the United States who received any telephone facsimile messages

28
     from Defendant to said person’s telephone facsimile number made through the use



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 1   of any telephone facsimile machine and such person had not previously not
 2   provided their telephone facsimile number to Defendant within the four years prior
 3   to the filing of this Complaint, nor did the telephone facsimile message contain an
 4   opt-out notice.
 5         20.    Defendant, its employees and agents are excluded from The Class.
 6   Plaintiff does not know the number of members in The Class, but believes the Class
 7   members number in the thousands, if not more. Thus, this matter should be certified
 8   as a Class Action to assist in the expeditious litigation of the matter.
 9         21.    The Class is so numerous that the individual joinder of all of its
10   members is impractical. While the exact number and identities of The Class
11   members are unknown to Plaintiff at this time and can only be ascertained through
12   appropriate discovery, Plaintiff is informed and believes and thereon alleges that
13   The Class includes thousands of members. Plaintiff alleges that The Class members
14   may be ascertained by the records maintained by Defendant.
15         22.    Plaintiff and members of The Class were harmed by the acts of
16   Defendant in at least the following ways: Defendant illegally contacted Plaintiff
17   and Class members via their telephone facsimile numbers thereby causing Plaintiff
18   and Class members to incur certain charges or reduced telephone facsimile time for
19   which Plaintiff and Class members had previously paid by having to retrieve or
20   administer messages left by Defendant during those illegal calls, and invading the
21   privacy of said Plaintiff and Class members.

22         23.    Common questions of fact and law exist as to all members of The

23   Class which predominate over any questions affecting only individual members of

24
     The Class. These common legal and factual questions, which do not vary between

25
     Class members, and which may be determined without reference to the individual

26
     circumstances of any Class members, include, but are not limited to, the following:

27
           a.     Whether, within the four years prior to the filing of this Complaint,
28                Defendant sent telephone facsimile messages (other than for


                                   CLASS ACTION COMPLAINT
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 1                emergency purposes or made with the prior express consent of the
                  called party and with an opt-out notice contained in the messages) to
 2                a Class member using any telephone facsimile machine to any
 3                telephone number assigned to a telephone facsimile service;
           b.     Whether Plaintiff and the Class members were damaged thereby, and
 4
                  the extent of damages for such violation; and
 5         c.     Whether Defendant should be enjoined from engaging in such conduct
 6
                  in the future.

 7
           24.    As a person who received numerous messages from Defendant using
 8
     a telephone facsimile machine, without Plaintiff’s prior express consent, Plaintiff
 9
     is asserting claims that are typical of The Class.
10
           25.    Plaintiff will fairly and adequately protect the interests of the members
11
     of The Class. Plaintiff has retained attorneys experienced in the prosecution of
12
     class actions.
13
           26.    A class action is superior to other available methods of fair and
14
     efficient adjudication of this controversy, since individual litigation of the claims
15
     of all Class members is impracticable. Even if every Class member could afford
16   individual litigation, the court system could not. It would be unduly burdensome
17   to the courts in which individual litigation of numerous issues would proceed.
18   Individualized litigation would also present the potential for varying, inconsistent,
19   or contradictory judgments and would magnify the delay and expense to all parties
20   and to the court system resulting from multiple trials of the same complex factual
21   issues. By contrast, the conduct of this action as a class action presents fewer
22   management difficulties, conserves the resources of the parties and of the court
23   system, and protects the rights of each Class member.
24         27.    The prosecution of separate actions by individual Class members
25   would create a risk of adjudications with respect to them that would, as a practical
26   matter, be dispositive of the interests of the other Class members not parties to such
27   adjudications or that would substantially impair or impede the ability of such non-
28   party Class members to protect their interests.


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 1         28.     Defendant has acted or refused to act in respects generally applicable
 2   to The Class, thereby making appropriate final and injunctive relief with regard to
 3   the members of the California Class as a whole.
 4                                    THE SUB-CLASS
 5         29.     The class Plaintiff seeks to represent the (the “Sub-Class”) is defined
 6   as follows:
 7                 All persons within the State of California who received
 8                 any telephone facsimile messages from Defendant to
 9                 said person’s telephone facsimile number made through
10                 the use of any telephone facsimile machine and such
11                 person had not previously consented to receiving such
12                 messages and such messages did not contain any opt-out
13                 notice within the four years prior to the filing of this
14                 Complaint.
15         30.     As used herein, the term “Sub-Class Members” shall mean and refer
16   to the member of the Sub-Class described above.
17         31.     Excluded from the Sub-Class are Defendant, its affiliates, employees,
18   agents, attorneys, and the Court.
19         32.     Plaintiff reserves the right to amend the Sub-Class and to add
20   additional subclasses, if discovery and further investigation reveals such warranted
21   action.

22         33.     Upon information and belief, the proposed Sub-Class is composed of

23   thousands of persons. The members of the Sub-Class are so numerous that joinder

24
     of all members would be unfeasible and impractical.

25
           34.     No violations alleged in this complaint are contingent on any

26
     individualized interaction of any kind between the Sub-Class members and

27
     Defendant.
           35.     Rather, all claims in this matter arise from the identical facsimile
28



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 1   transmissions the Sub-Class received from Defendant.
 2         36.    There are common questions of law and fact as to the FAL Class
 3   Members that predominate over questions affecting only individual members,
 4   including but not limited to:
 5
 6
                  a. Whether, within the four years prior to the filing of this Complaint,
                     Defendant sent telephone facsimile messages (other than for
 7                   emergency purposes or made with the prior express consent of the
 8                   called party and with an opt-out notice contained in the messages)
                     to a Class member using any telephone facsimile machine to any
 9                   telephone number assigned to a telephone facsimile service;
10                b. Whether Plaintiff and the Sub-Class members were damaged
                     thereby, and the extent of damages for such violation; and
11
                  c. Whether Defendant should be enjoined from engaging in such
12                   conduct in the future.
13
14         37.    As a person who received numerous messages from Defendant using
15   a telephone facsimile machine, without Plaintiff’s prior express consent, Plaintiff
16   is asserting claims that are typical of The Sub-Class.
17         38.    Plaintiff will fairly and adequately protect the interests of the members
18   of The Sub-Class. Plaintiff has retained attorneys experienced in the prosecution
19   of class actions.
20         39.    A class action is superior to other available methods of fair and
21   efficient adjudication of this controversy, since individual litigation of the claims
22   of all Sub-Class members is impracticable. Even if every Sub-Class member could
23   afford individual litigation, the court system could not. It would be unduly
24   burdensome to the courts in which individual litigation of numerous issues would
25   proceed. Individualized litigation would also present the potential for varying,
26   inconsistent, or contradictory judgments and would magnify the delay and expense
27   to all parties and to the court system resulting from multiple trials of the same
28   complex factual issues. By contrast, the conduct of this action as a class action


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 1   presents fewer management difficulties, conserves the resources of the parties and
 2   of the court system, and protects the rights of each Sub-Class member.
 3         40.    The prosecution of separate actions by individual Sub-Class members
 4   would create a risk of adjudications with respect to them that would, as a practical
 5   matter, be dispositive of the interests of the other Sub-Class members not parties to
 6   such adjudications or that would substantially impair or impede the ability of such
 7   non-party Sub-Class members to protect their interests.
 8         41.    Defendant has acted or refused to act in respects generally applicable
 9   to The Sub-Class, thereby making appropriate final and injunctive relief with
10   regard to the members of the Sub-Class as a whole
11
12                             FIRST CAUSE OF ACTION
13          Negligent Violations of the Telephone Consumer Protection Act
14                                 47 U.S.C. §227 et seq.
15         42.    Plaintiff hereby incorporates by reference the allegations contained
16   in this complaint.
17         43.    The foregoing acts and omissions of Defendant constitute numerous
18   and multiple negligent violations of the TCPA, including but not limited to each
19   and every one of the above cited provisions of 47 U.S.C. § 227 et seq.
20         44.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et
21   seq., Plaintiff and the Class Members are entitled an award of $500.00 in statutory

22   damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).

23         45.    Plaintiff and the Class members are also entitled to and seek

24
     injunctive relief prohibiting such conduct in the future.

25
                             SECOND CAUSE OF ACTION

26
     Knowing and/or Willful Violations of the Telephone Consumer Protection Act

27
                                   47 U.S.C. §227 et seq.
           46.    Plaintiff hereby incorporates by reference the allegations contained
28



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 1    in this complaint.
 2            47.   The foregoing acts and omissions of Defendant constitute numerous
 3    and multiple knowing and/or willful violations of the TCPA, including but not
 4    limited to each and every one of the above cited provisions of 47 U.S.C. § 227 et
 5    seq.
 6            48.   As a result of Defendant’s knowing and/or willful violations of 47
 7    U.S.C. § 227 et seq., Plaintiff and the Class members are entitled an award of
 8    $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
 9    § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
10            49.   Plaintiff and the Class members are also entitled to and seek
11    injunctive relief prohibiting such conduct in the future.
12                              THIRD CAUSE OF ACTION
13           For Violation of California Business & Professions Code § 17538.43
14            50.   Plaintiff hereby incorporates by reference the allegations contained
15    in this complaint.
16            51.   California Business & Professions Code § 17538.43(b)(1) provides
17    as follows:
18                  “It is unlawful for a person or entity, if either the person
19                  or entity or the recipient is located within California, to
20                  use any telephone facsimile machine, computer, or other
21                  device to send, or cause another person or entity to use

22                  such a device to send, an unsolicited advertisement to a

23                  telephone facsimile machine.”

24
              52.   The term “unsolicited advertisement” as defined by Cal. Bus. & Prof.

25
      Code § 17538.43 means: “any material advertising the commercial availability or

26
      quality of any property, goods, or services that is transmitted to any person or

27
      entity without that person’s or entity’s prior express invitation or permission.”
              53.   Through the use of telephone facsimile machine(s), computer(s), and
28



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 1    or other devices, Defendants sent or caused to be sent to the telephone facsimile
 2    number(s) of Plaintiff and the Sub-Class one or more unsolicited advertisements.
 3          54.    The faxes sent or caused to be sent by Defendant to Plaintiff and the
 4    Sub-Class constitute “unsolicited advertisements as defined by Cal. Bus. & Prof.
 5    Code § 17538.43. Each such fax advertised the commercial availability of services
 6    provided by the Defendant.
 7          55.    Through their conduct, Defendants violated Cal. Bus. & Prof. Code
 8    §17538.43, which prohibits the sending of unsolicited fax advertisements if either
 9    the person or entity or the recipient is located within California.
10          56.    Accordingly, under Cal. Bus. & Prof. Code §17538.43, Defendants
11    are liable to Plaintiff and the Subclass in the statutory damage amount of $500 per
12    each unsolicited fax advertisement sent, and, in the event it is found by a trier of
13    fact that Defendants’ violations were willful or knowing, Defendants are liable to
14    Plaintiff and the Subclass for treble damages of up to $1500 per each unsolicited
15    fax advertisement sent. Cal. Bus. & Prof. Code §17538.43 provides that the these
16    remedies may be recovered “[i]n addition to any other remedy provided by law,
17    including a remedy provided by the Telephone Consumer Protection Act (47
18    U.S.C. § 227 et seq.).”
19                                 PRAYER FOR RELIEF
20     WHEREFORE, Plaintiff requests judgment against Defendant for the following:
21                              FIRST CAUSE OF ACTION

22           Negligent Violations of the Telephone Consumer Protection Act

23                                  47 U.S.C. §227 et seq.

24
                   As a result of Defendant’s negligent violations of 47 U.S.C.

25
                   §227(b)(1), Plaintiff and the Class members are entitled to and

26
                   request $500 in statutory damages, for each and every violation,

27
                   pursuant to 47 U.S.C. 227(b)(3)(B); and
                   Any and all other relief that the Court deems just and proper.
28



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 1                              SECOND CAUSE OF ACTION
 2     Knowing and/or Willful Violations of the Telephone Consumer Protection Act
 3                                 47 U.S.C. §227 et seq.
 4                As a result of Defendant’s willful and/or knowing violations of 47
 5                U.S.C. §227(b)(1), Plaintiff and the Class members are entitled to
 6                and request treble damages, as provided by statute, up to $1,500, for
 7                each and every violation, pursuant to 47 U.S.C. §227(b)(3)(B) and 47
 8                U.S.C. §227(b)(3)(C); and
 9                Any and all other relief that the Court deems just and proper.
10                              THIRD CAUSE OF ACTION
11        For Violation of California Business & Professions Code § 17538.43
12                As a result of Defendant’s willful and/or knowing violations of Cal.
13                Bus. & Prof. Code §17538.43, Plaintiff and the Sub-Class members
14                are entitled to and request treble damages, as provided by statute, up
15                to $1,500, for each and every violation, pursuant to Cal. Bus. & Prof.
16                Code §17538.43; and
17                Any and all other relief that the Court deems just and proper.
18                                   JURY DEMAND
19          1.    Pursuant to the Seventh Amendment to the Constitution of the United
20                States of America, Plaintiff reserves their right to a jury on all issues
21                so triable.

22
23          Respectfully Submitted this 9th day of November, 2017.

24
                                 LAW OFFICES OF TODD M. FRIEDMAN, P.C.
                                      By: /s Todd M. Friedman
25                                        Todd M. Friedman
26                                        Law Offices of Todd M. Friedman
                                          Attorney for Plaintiff
27
28



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                                   Exhibit A
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